85 F.3d 617
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Michael Antonio GOODMAN, Defendant-Appellant.
    No. 95-7868.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 15, 1996.Decided:  April 29, 1996.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Elizabeth City.  Terrence W. Boyle, District Judge.  (CR-92-1-BO, CA-95-31-2-BO)
      Michael Antonio Goodman, Appellant Pro Se.  Fenita Talore Morris, OFFICE OF THE UNITED STATES ATTORNEY, Raleigh, NC, for Appellee.
      E.D.N.C.
      AFFIRMED.
      Before ERVIN and MOTZ, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his motion for reconsideration of the order denying relief on his 28 U.S.C. § 2255 (1988) motion.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we deny Appellant's motion to remand the case and affirm on the reasoning of the district court.   United States v. Goodman, Nos.  CR-92-1-BO;  CA-95-31-2-BO (E.D.N.C. Oct. 12, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    